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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       December 21, 2020

BY ECF & EMAIL
The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Jeffrey Goldstein, 18 Cr. 217 (KMW)

Dear Judge Wood:

       Pursuant to the Order of November 18, 2020 (Dkt. 319), the Government writes to inform
the Court whether the parties agree to proceed with sentencing remotely on January 4, 2021.

      The defendant consents to proceeding remotely and opposes any further adjournments.
Defense counsel will file a letter elaborating on its position no later than December 23, 2020.

        Although sympathetic to the defendant’s desire for finality, the Government questions
whether the record can support a finding, as required to proceed remotely under Section
15002(b)(2)(A) of the CARES Act, that sentencing “cannot be further delayed without serious
harm to the interests of justice.” The defendant is not in custody, is not subject to restrictive bail
conditions, and will not owe restitution. Accordingly, the Government respectfully requests that
the sentencing be adjourned until it can occur in person in conformity with the CARES Act.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   Acting United States Attorney

                                           By:               /s/                   l
                                                   David Abramowicz / Noah Solowiejczyk
                                                   Assistant U.S. Attorneys
                                                   212-637-6525 / 2473

cc:    Defense counsel (by ECF and email)
